 Case 2:02-cv-00024-TS Document 287 Filed 02/04/10 PageID.2279 Page 1 of 3




             IN THE UNITED STATES COURT FOR THE DISTRICT OF UTAH
                                     CENTRAL DIVISION




 TAJ BECKER, M.D.,
        Plaintiff,                                      MEMORANDUM DECISION AND
                                                        ORDER DENYING MOTION TO
                                                        SUBMIT SPECIAL
                                                        INTERROGATORIES TO THE JURY


                vs.


 J. DENIS KROLL, et al.,                                Case No. 2:02-CV-24 TS
        Defendants.




       This matter is before the Court on Defendants’ Motion to Submit Special Interrogatories

to the Jury. The Plaintiff has a two minor objections to the wording in two of the proposed

questions but otherwise does not object to the use of the form. For the reasons discussed below

the Court will deny the Motion.

       Defendants submitted a proposed special interrogatory to be submitted to the Jury

regarding the potential qualified immunity of Defendant Wright. Defendants argue that qualified

immunity is a question of law to be determined by the Court. The Court does not disagree and

does not intend to submit issue of qualified immunity to the Jury.

       However, the Court finds that there would be no difference in submitting one question to

the Jury on a verdict form asking whether they, the Jury, has found that Defendant Wright

                                                1
 Case 2:02-cv-00024-TS Document 287 Filed 02/04/10 PageID.2280 Page 2 of 3




violated Plaintiff’s constitutional rights. The Court finds that such a question is the ultimate

question the jury must consider in order for the Court to makes its determination on qualified

immunity. The determination of qualified immunity is a two prong test. The first prong asks

whether a reasonable jury could find a defendant violated the plaintiff’s constitutional rights.1

The second prong of the analysis is whether at the time of the violation the law was clearly

established.2

       The proposed special interrogatories go to the first prong of the determination. The

questions on the proposed form are all addressed in the jury instructions. In order to answer the

constitutional issue the jury necessarily must answer all of the mini-questions in the proposed

special interrogatories. Therefore, the Court finds the special interrogatory is unnecessary, will

confuse the jury, and the same outcome can be garnered by one question on the verdict form.

       In support of their argument that a special interrogatory is necessary in the case of

qualified immunity, Defendants cite Gonzales v. Duran,3 for the proposition that the best way for

a trial court to submit the qualified immunity question to the jury is through special

interrogatories.4 In this case though the Court is not submitting the question of qualified

immunity to the jury. Instead, it is merely submitting questions to the Jury that will ultimately

assist the Court in its final determination regarding Defendant Wright’s qualified immunity.

       It is therefore


       1
        See Herrera v. Bernalillo County Board of County Com’rs,, 2010 WL 226571, at *3
(10th Cir. January 20, 2010) (Slip Copy).
       2
           Id. at *4.
       3
           — F.3d—, 2009 WL 4912301 (10th Cir. Dec. 22, 2009).
       4
           Id. at *3-4.

                                                  2
 Case 2:02-cv-00024-TS Document 287 Filed 02/04/10 PageID.2281 Page 3 of 3




      ORDERED that Defendant’s Motion to Submit Special Interrogatories to the Jury

(Docket No. 241) is DENIED.

      DATED February 4, 2010.

                                         BY THE COURT:


                                         _____________________________________
                                         TED STEWART
                                         United States District Judge




                                            3
